                 Exhibit 1




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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            Civil Action No. 3:20-cv-00019



 WILLIAM F. MACKEY,
                                     Plaintiff,
                                                      Plaintiff’s Initial Disclosures Pursuant to
 v.                                                                  FRCP 26(a)(1)

 WELLS FARGO BANK, N.A.

                                     Defendant.

        NOW COMES Plaintiff, William Mackey (“Plaintiff”), by and through the undersigned

counsel and pursuant to Rule 26(a)(1)(A) of the Federal Rules of Civil Procedure, and provides

the following initial disclosures. These disclosures are based on information that is presently

available to Plaintiff after a reasonable investigation. Plaintiff reserves the right to revise, correct,

supplement, or clarify these disclosures should additional information become known to Plaintiff

between now and the time of trial, consistent with Rule 26(e) of the Federal Rules of Civil

Procedure. Plaintiff also reserves the right to present witnesses and to introduce evidence and

documents that may be disclosed in supplemental disclosures, become known through the

discovery process, or be disclosed in other pre-trial disclosures. Plaintiff also reserves his rights

under attorney-client privilege and attorney work product doctrine.




                              [Disclosures begin on the following page]



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                                           Disclosures

       Rule 26(a)(1)(A)(i): The name and, if known, the address and telephone number of

each individual likely to have discoverable information—along with the subjects of that

information—that the disclosing party may use to support its claims or defenses, unless the

use would be solely for impeachment.

       a) The Plaintiff has knowledge and information regarding the facts and claims asserted in

his complaint. He can be contacted through counsel:

                      Mr. William Mackey
                      c/o Jordan Burke, Counsel for Plaintiff
                      Vennum, PLLC
                      8510 McAlpine Park Drive
                      Suite 210
                      Charlotte, NC 28211
                      Phone: 980-338-0111

       b) Provided below are the names of Wells Fargo employees who were members of

Plaintiff’s team or members of management at the time Plaintiff was hired in July 2010 and their

job titles at the time. These individuals have knowledge and information regarding the facts in

Plaintiff’s Complaint. These individuals are:

                       ​ Nancy Mank​ – Hiring Manager
                         1755 Grant Street
                         Floor 04
                         Concord, CA 94520-3145
                         Work phone number: (925) 536-3145
                         Work email: mankn@wellsfargo.com

                         ​Laura Richardson​ – Operations Manager
                          401 S Tryon Street
                          Floor 05
                          Charlotte, NC 28202-1911
                          Work phone number: (704) 715-6329
                          Work email: laura.richardson@wellsfargo.com
                          Joel Williams – Security Operations Specialist 5 (Team Lead)
                          1525 W WT Harris Blvd


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                          Floor 04
                          Charlotte, NC 28262-8522
                          Work phone number: (704) 590-2021
                          Work email: joel.williams1@wellsfargo.com

                          ​Ben Hood​ – Security Operations Specialist 4
                           1525 W WT Harris Blvd
                           Floor 04
                           Charlotte, NC 28262-8522
                           Work phone number: (704) 427-1473
                           Work email: ben.hood@wellsfargo.com

                         ​ John Irwin​ – Securities Operations Service Specialist 4
                           300 N 3​rd​ Street
                           Floor 02
                           Wilmington, NC 28401-4098
                           Work phone number: (910) 342-2084
                           Work email: john.irwin@wellsfargo.com

                         ​ Kathie Elizabeth Little​ – Security Operations Service Specialist 3
                           1100 Corporate Center Dr Bldg B
                           Floor 01
                           Raleigh, NC 27607-5066
                           Work phone number: (919) 852-9649
                           Work email: Kathie.little@wellsfargo.com

                           Josephine Hernandez Torres – Operations Analyst (This individual is
                           no longer employed at Wells Fargo and Plaintiff does not have
                           knowledge of her current contact information.)

       c) The following is a list of fellow team members with whom Plaintiff discussed his

complaint. These team members have knowledge and information regarding the facts in

Plaintiff’s complaint.

                         Shannon Claytor ​– Employee Relations Senior Consultant
                         1300 SW 5​th​ Ave
                         Floor 00
                         Portland, OR 97201-5667
                         Work phone number: (541) 674-9627
                         Work email: Shannon.claytor@wellsfargo.com

                          Brandi Dotson ​– Fiduciary Tax Director, Senior Vice President
                          2605 SW 91​st​ St


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                       Floor 01
                       Gainesville, FL 32608-2709
                       Cell phone number: (980) 279-9706
                       Work email: brandi.dotson@wellsfargo.com

                       ​Sara Vanderlugt ​– Fiduciary Tax Manager
                        600 S 4​th​ St
                        Floor 14
                        Minneapolis, MN 55415-1526
                        Cell phone number: (612) 723-7815
                        Work email: sara.vanderlugt@wellsfargo.com

                       ​ Danny S. Nethken​ – Operations Manager
                         1525 W WT Harris Blvd
                         Floor 04
                         Charlotte, NC 28262-8522
                         Work phone number: (704) 427-4751
                         Work email: Danny.S.Nethken@wellsfargo.com

                        Bob Blood ​– Operations Manager (Mr. Blood has retired since
                        Plaintiff’s hiring at Wells Fargo and was replaced by Brandi Dotson.
                        Plaintiff does not have knowledge of his current contact information.)


      Rule 26(a)(1)(A)(ii): ​A copy—or a description by category and location—of all

documents, electronically stored information, and tangible things that the disclosing party

has in its possession, custody, or control and may use to support its claims or defenses,

unless the use would be solely for impeachment.

      a) The documents Plaintiff has in his possession, custody, and control at this time

          include:

             1. Paperwork from the Charlotte Equal Employment Opportunity Commission

                 (EEOC) office related to Plaintiff’s charge against Defendant.

      b) Plaintiff does not have in possession, custody, or control any tangible things at this

          time, however, Plaintiff will produce such things if any become available.




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       c) Electronically stored information that Plaintiff has in his possession, custody, and

            control at this time include:

               1. Email communication with team members Brandi Dotson, Danny Nethken, and

                   Shannon Claytor regarding the facts of his complaint;

               2. Annual Compensation Summary Statements that reflect his job title, previous

                   annual salary, and current annual salary;

               3. Pay stubs from Defendant reflecting his rate of pay, including the $21,788.31

                   in retroactive pay that Plaintiff received in February 2019; and

               4. Pay scale information for his job title as of 2010 and 2019.

       d) The above reference documents are located at the offices of Vennum PLLC.



       Rule 26(a)(1)(A)(iii): A computation of each category of damages claimed by the

disclosing party—who must also make available for inspection and copying as under Rule

34 the documents or other evidentiary material, unless privileged or protected from

disclosure, on which each computation is based, including materials bearing on the nature

and extent of the injuries suffered.

       a)      Back Pay: $69,061.64. ​Mr. Mackey earned $330,878.00 from 2010-2019. If he

       had been paid at the median pay range he would have earned ​$399,939.64. ​This amount

       does not account for the promotions and accompanying increased wages Mr. Mackey

       would have received had his salary not barred him from being eligible for certain

       promotion opportunities.

                Year               Salary                 2% Raise               Total Salary




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        Y1        $41,000 (midpoint)                 --                 $41,000

        Y2            $41,000.00                   $820.00              $41,820

        Y3            $41,820.00                   $836.40             $42,656.40

        Y4            $42,656.40                   $853.23             $43,509.53

        Y5            $43,509.53                   $870.19             $44,379.72

        Y6            $44,379.72                   $887.59             $45,267.31

        Y7            $45,267.31                   $905.35             $46,172.66

        Y8            $46,172.66                   $923.45             $47,096.05

        Y9            $47,096.05                   $941.92             $48,037.97

                                                                Total Pay: $399,939.64



b)     Retirement Benefits.     ​Because the amount Wells Fargo contributed to an

employee’s 401K was equal to 6% of the employee’s salary, Mr. Mackey’s benefit were

affected by the discrimination as well. From 2010-2019, Wells Fargo contributed an

amount less than $23,634.09 ​when it would have contributed $23,634.09 if it had started

Mr. Mackey at the midpoint. Mr. Mackey is entitled to the difference between these

amounts.

       Year                 Salary                           6% Contribution

        Y1          $41,000.00 (midpoint)                       $2,460.00

        Y2                $41,000.00                            $2,460.00

        Y3                $41,820.00                            $2,509.20

        Y4                $42,656.40                            $2,559.38

        Y5                $43,509.53                            $2,610.57

        Y6                $44,379.72                            $2,662.78



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        Y7                 $45,267.31                            $2,716.04

        Y8                 $46,172.66                            $2,770.36

        Y9                 $47,096.05                            $2,825.76

                                                         Total Contribution: ​$​23,634.09



c)      Lost Opportunities. ​Plaintiff reserves the right to amend this section to include

calculations for the lost advancement opportunities, specifically promotion from an SES

III to an SES IV, and their accompanying increase in compensation and contribution to

benefits due to Mr. Mackey’s initial low position on the pay scale.



d)     The evidentiary documents supporting this amount, including Mr. Mackey’s pay

stubs and Wells Fargo’s general salary practices to the extent that Mr. Mackey knows

about such information, are located at the office of Vennum Law.



e)      Plaintiff also reserves the right to adjust the numbers in the section to reflect any

newly acquired information, including information about actual amounts paid to other,

non-protected class employees, rather than the median pay range.




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      Plaintiff reserves the right to supplement and amend any of the above disclosures as

permitted under the Federal Rules of Civil Procedure.



      T​HIS​ ​THE​ 18​TH​ ​DAY​ ​OF​ M​ARCH​, 2020.


                                               V​ENNUM​, ​PLLC



                                                                 By:​ /s/ Jordan Burke
                                                                 JORDAN A. BURKE
                                                                 N.C. State Bar No. 54778
                                                                 E​LIZABETH​ K. V​ENNUM
                                                                 NC State Bar No. 49747
                                                                 Counsel for Plaintiff
                                                                 8510 McAlpine Park Drive
                                                                 Suite 210
                                                                 (980) - 338 - 0111




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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served by email and by United States

Mail to counsel for Wells Fargo Bank, N.A. as follows:



                                    Frederick T. Smith
                                    Ethan Goemann
                                    SEYFARTH SHAW LLP
                                    121 West Trade Street, Suite 2020
                                    Charlotte, NC 28202
                                    FSmith@seyfarth.com
                                    EGoemann@seyfarth.com
                                    Counsel for Defendant



       This is the 18th day of March, 2020.


                                                   By:     ​ /s/ ​Jordan Burke
                                                             Jordan Burke
                                                             Vennum, PLLC




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